                      IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
__________________________________________
                                               )
UNITED STATES OF AMERICA                       )    Docket No. 3:11-cr-3-RJC
                                               )
       v.                                      )    ORDER TO UNSEAL
                                               )    SECOND SUPERSEDING
(1) ALBELARDO SALAZAR-AGUIRRE,                 )    INDICTMENT AS TO
       a/k/a Mario Alberto Aguirre-Bella,      )    DEFENDANT (18)
        a/k/a Jorge Tamez-Gracia,              )    RICARDO PENA-
       a/k/a Chaparro                          )    CARTANIETO, a/k/a Cucho
(2) CESAR VARGAS-TORRES,                       )
       a/k/a Cotono,                           )
       a/k/a Cotonete                          )
(4) GERMAN ALEXANDER MENDOZA                   )
(5) VICTOR DANIEL PINEDA-COTO                  )
(6) JOSE ODIL-CRUZ GARCIA                      )
(7) ASUNCION CAMPOS-MENDOZA                    )
(9) ALONZO ROMERO                              )
(11) CINDY CARRILLO                            )
(12) MELODY MEJIA                              )
(13) GARY MOUNTCASTLE,                         )
       a/k/a GARY MONTCASTLE,                  )
       a/k/a GARY RIDDICK                      )
(14) LUIS JAVIER AMARO                         )
(15) DAMIEN COSME CISNEROS                     )
(16) MONWAZEE RAYMOND BOSTON                   )
(17) DEMORRIS LAMAR ANDERSON                   )
(18) RICARDO PENA-CARTANIETO                   )
       a/k/a Cucho                             )
(19) SALVADOR VARGAS TORRES                    )
       a/k/a Chava
__________________________________________




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          UPON MOTION of the United States of America, by and through Anne M. Tompkins,

United States Attorney for the Western District of North Carolina, for an order directing that the

Second Superseding Indictment as to Defendant (18) RICARDO PENA-CARTANIETO, a/k/a

Cucho; Arrest Warrant for Defendant (18) RICARDO PENA-CARTANIETO, a/k/a Cucho; the

Motion to Seal, and any Order issued pursuant thereto be unsealed,

          IT IS HEREBY ORDERED that the Second Superseding Indictment as to Defendant (18)

RICARDO PENA-CARTANIETO, a/k/a Cucho; Arrest Warrant for Defendant (18) RICARDO

PENA-CARTANIETO, a/k/a Cucho; the Motion to Seal, and this Order are hereby unsealed.

          The Clerk is directed to certify copies of this Order to the United States Attorney's

Office.

          SO ORDERED.
                                                    Signed: March 13, 2012




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